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                                                                                                                                                      In the nal weeks before Donald Trump returns to the White House, the focus of his public
                                                                                                                                                      remarks has not been about the conrmations of his Cabinet picks or on key parts of his
           DONALD TRUMP
                                                                                                                                                      campaign agenda like mass deportations or lowering prices.

           Pressure on China and pure 'trolling': Why Trump is pushing                                                                                Instead, Trump — who has criticized U.S. military involvement in other countries — is
           an expansionist agenda                                                                                                                     advocating for America to gain more global territory, including by force, if necessary. Call it
           The president-elect is suddenly pushing to annex Greenland, reclaim the Panama Canal and absorb                                            his annexation agenda.
           Canada, provoking longtime allies just days before taking oce.
                                                                                                                                                                                                           ADVERTISING




                                                                                                                                                      In recent days, Trump has repeatedly pushed the idea that he will take over Greenland from
                                                                                                                                                      Denmark, reclaim the Panama Canal after the United States returned it to the Panamanian
                                                                                                                                                      government decades ago and absorb Canada into the United States. Trump said he is keeping
                                                                                                                                                      the option of using the military to gain control of Greenland and the Panama Canal on the
                                                                                                                                                      table while saying he will exert “economic force” to pressure Canada to join the United States.
                                                                                                                                                      He has also said he wants to rename the Gulf of Mexico and Denali, North America’s tallest
                                                                                                                                                      peak.


                  Trump has pushed for the United States to take control of Greenland, the Panama Canal and Canada.                                   Panamanian, Danish and Canadian leaders have all shot down Trump’s wishes, with
             Leila Register / NBC News; Getty Images                                                                                                  responses ranging from no to not “a snowball’s chance in hell.”


                                                                                                                                                      Trump’s willingness to provoke longtime U.S. allies and throw out unexpected demands gives
                                                                                                                                                      a glimpse of the domestic, and global, shakeup he hopes to accomplish. Democrats and
                                                                                                                                                      Republicans who spoke to NBC News, including close Trump allies, said some of his recent
           Jan. 9, 2025, 11:29 AM EST
                                                                                                                                                      demands are serious and some are ways to gain leverage for other parts of his agenda, while
           By Allan Smith and Carol E. Lee                                                                                                            others are just trolling.




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           Greenland is an island Trump very much desires. A person familiar with the discussions said                                                A second senior aide to a GOP senator said of the overall eort: “I am not taking it seriously.
           Trump has never given up on acquiring Greenland, which he tried to purchase during his rst                                                But I guess we’ll see what happens.”
           term for defense reasons and was rebued.


           This person added that Trump also enjoys the way the eort gets people spun up. On
                                                                                                                                                    'It can’t be bought': Greenlanders respond to Trump's options for their country
           Tuesday, Trump’s eldest son, Donald Trump Jr., took a trip to Nuuk, the largest population
                                                                                                                                                    01:23
           center on the island of about 57,000 people, and the president-elect called in to deliver a
           message to Greenlanders.


           Acquiring the Panama Canal falls into the category of something Trump may want but is also
           using as an economic pressure campaign.


           For years, he has felt that President Jimmy Carter should not have returned the Panama Canal
           to Panama. But John Bolton, a former Trump national security adviser who has since broken
           with him, told NBC News in an interview that while he served under Trump he didn’t hear
           any talk of acquiring the Panama Canal (or making Canada the 51st state). The person familiar
           also said reclaiming the canal was not a focus during Trump’s rst term in oce.


           But it is now on the table because of another part of Trump’s agenda: combating the in�uence
           of China.


           According to this person and a second person familiar with the discussions, Trump allies have
           shown the president-elect data they argue shows Chinese encroachment in the Western
           Hemisphere, including the accusation that Panama has the ability to prioritize Chinese over                                                Meanwhile, some of Trump’s earliest ambassador picks were for Canada, Denmark and
           American shipping. The second person familiar with the discussions said Trump’s threat to                                                  Panama, and his statements announcing the latter two included references to Greenland and
           take the canal is “a negotiating tool” to get Panama to get more favorable treatment for U.S.                                              the Panama Canal.
           shipments.
                                                                                                                                                      John D. Feeley, who was the U.S. ambassador to Panama under President Barack Obama and
           On Canada, Trump’s remarks amount to “an epic troll,” the rst person said, adding that he is                                              Trump before he resigned over policy disagreements with Trump, said Trump’s public push
           not serious about absorbing the country into the United States. Yet, this person said, Trump                                               will put incoming ambassadors behind the eight ball.
           believes his trolling could get some policies to cut his way and help with negotiations. Last
           month, Canadian ocials announced a plan to increase spending on border security, which                                                    “If Trump attempts to operationalize the threats made to Panama, Canada and Greenland …
           was a focus of the Republican presidential primary campaign last year.                                                                     it’s going to put any ambassador in the most dicult position I can conceive of: telling a treaty
                                                                                                                                                      ally your boss plans to take their sovereign homeland,” Feeley said.
           “I split those into two buckets,” a senior aide to a GOP senator said, noting that the
           propositions to reclaim the Panama Canal and acquire Greenland are “more serious,” pointing                                                Countering China's inuence
           to Trump Jr.’s visit to Greenland.
                                                                                                                                                      Trump and his allies have pointed to national security as the rationale for why the U.S. should
           “I don’t take Canada as seriously,” this person added. “He’s just making fun of [Prime Minister                                            acquire Greenland, with Trump posting on his Truth Social platform last month that
           Justin] Trudeau.”


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           American “ownership and control of Greenland is an absolute necessity.” The island, which
                                                                                                                                                    Trump suggests taking Greenland and Panama Canal by force
           has been under Denmark’s control since the 14th century, was fully integrated into Denmark
                                                                                                                                                    02:14
           in 1953 under the country’s constitution, and it became a self-governing territory in 1979.
           Greenlanders have full citizenship in Denmark.


           Greenland is closer to New York than Copenhagen, and the United States brie�y occupied it
           during World War II. It is home to a large U.S. Air Force base and major mineral reserves. In
           recent years, China has sought to make inroads on the island.


           Carla Sands, Trump’s former ambassador to Denmark, said the Danes simply do not have the
           capacity to properly defend the island, while China’s attempts to boost ties with Greenland
           have had American ocials on high alert.


           “We are great partners and allies with Denmark,” she said. “We’ve had diplomatic relations
           with them for 200 years. They’re founding members of NATO. So we’re good friends, but
           good friends sometimes have to have tough conversations. And one of the conversations was,
           ‘How are you going to defend Greenland, part of your kingdom, when you can’t even defend
           Denmark proper?’"


           “The only capabilities that Denmark controls for Greenland are defense and foreign policy;                                                 But Rufus Giord, the ambassador to Denmark in the Obama administration and nance chair
           everything else Greenland controls,” Sands added. “And that makes Greenland really, really                                                 of Vice President Kamala Harris’ campaign, said gaining Greenland would not be anywhere
           vulnerable to bad actors, because they want economic growth.”                                                                              near as simple as Trump may make it seem.


                                                                                                                                                      For starters, Giord said, “any Danish prime minister that loses Greenland in this day and age
                                                                                                                                                      would be the laughingstock of the country, and would be forever.” And, he added,
                                                                                                                                                      Greenlanders may not want to give up their “fairly privileged place in Danish society.”


                                                                                                                                                      As far as national security concerns go, Giord said any military incursion into Greenland
                                                                                                                                                      would invoke NATO’s Article Five, which requires the alliance’s members to defend it.


                                                                                                                                                      “There’s certainly concern about Chinese in�uence in Greenland, and there should be,” he
                                                                                                                                                      said, adding, though, “the only reason why you would say that, for national security reasons,
                                                                                                                                                      Greenland needs to be American would be if you’re threatening to pull out of NATO. And that
                                                                                                                                                      part is all the scarier.”


                                                                                                                                                      When it comes to the Panama Canal, Trump has framed his own focus on U.S. ships being
                                                                                                                                                      “overcharged” to use the waterway, as he said Tuesday, while he believes Chinese ships are
                                                                                                                                                      getting preferential treatment. Trump also said he long believed Carter was mistaken to have
                                                                                                                                                      negotiated treaties that turned over control of the canal to Panama.



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           A Hong Kong-based company operates two of the ve ports that serve the canal. China, via its
           2020 national security law, has extended its in�uence over Hong Kong.


           Panamanian President José Raúl Mulino, who said in December that “every square meter of
           the canal belongs to Panama and will continue to be so,” denied last month that China has
           in�uence over the waterway, which the Panama Canal Authority administers.


           “In the president’s universe of alternate facts, he can hu and pu and maybe Panama will
           return him the canal,” Feeley said. “In the real world, however, Panama is not about to return
           the canal. What he has done, in practical political terms, is solidify tremendous support
           among the 4.3 million Panamanians around Mulino, a relatively new president.”


           'A full-on takedown'
           Trump has mocked the Canadian government for weeks after he met with Trudeau at Mar-a-
           Lago, his Florida home, to discuss the potential for taris of 25% on Canadian goods imported
           into the United States. He has called Trudeau, who announced his resignation this week,
           “Gov. Trudeau” and suggested Canadians would love to be the 51st state. He has even called
           for hockey legend Wayne Gretzky, a famous Canadian who has been spotted at Mar-a-Lago, to
           run for prime minister.


           At his news conference Tuesday, Trump said he would use “economic force” to merge Canada
                                                                                                                                                      Bolton said the poking at Canada “probably comes from sitting around the dinner table at
           with the United States, describing the northern border as an “articially drawn line.” He
                                                                                                                                                      Mar-a-Lago and thinking of things to do to make Justin Trudeau unhappy.”
           lamented the United States’ “spending hundreds of billions a year to take care of Canada,” a
           NATO ally that also shares a military alliance with the United States through North American
                                                                                                                                                      “This is trolling,” Bolton said. “He knows it oends Trudeau to call him ‘Gov. Trudeau’ and
           Aerospace Defense Command.
                                                                                                                                                      talk about Canada as the 51st state. I don’t think there’s much thought beyond that.”

           Following Trump’s comments, Trudeau said on X: “There isn’t a snowball’s chance in hell that
                                                                                                                                                      Bolton said it would be wrong to look at Trump’s interest in acquiring foreign territory and
           Canada would become part of the United States.”
                                                                                                                                                      conclude he is rolling out a new strategic vision for the United States.


                                                                                                                                                      “There is no philosophy” behind Trump’s statements,” Bolton said. “There is no strategy. This
                                                                                                                                                      is this week’s series of neuron �ashes.”


                                                                                                                                                      Coupled with calls from Elon Musk, the world’s richest man and Trump’s sidekick, to replace
                                                                                                                                                      leadership in the United Kingdom and Germany, Trump is putting immense pressure on some
                                                                                                                                                      of America’s closest allies before he even takes oce. Trudeau’s resignation was, in part,
                                                                                                                                                      connected to Trump’s pressure campaign and calls to implement sweeping taris.


                                                                                                                                                      “You could make the argument that he took down Justin Trudeau just now,” Giord said,


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           adding: “Musk is trying to do the same in both the U.K. and Germany right now. So this isn’t
           just like diplomatic pressure. This is like a full-on takedown of some of our best allies.”


           Conservative media has boosted Trump’s annexation eort in recent days. On Fox News,
           prime-time host Sean Hannity has promoted it as a wise endeavor. Then, the New York Post,
           one of Trump’s favorite publications, highlighted the “Donroe Doctrine” on its Wednesday
           cover, a play on President James Monroe’s 19th century outline of the U.S. role in the Western
           Hemisphere.


           Congressional Republicans are already pushing legislation to advance the agenda. Rep. Dusty
           Johnson, R-S.D., plans to introduce a bill Thursday that would allow Trump to “enter into
           negotiations for the reacquisition of the Panama Canal.” And Rep. Marjorie Taylor Greene, R-
           Ga., announced moments after Trump called to rename the Gulf of Mexico the “Gulf of
           America” on Tuesday that she would introduce legislation in the House to do so.


           The rst person familiar with the discussions told NBC News that Trump rst expressed
           interest in changing the name of the Gulf of Mexico last month and that the president-elect
           was xated on the idea, though people close to him do not believe he can do much it. But this
           person said Trump’s push to rename Denali back to Mount McKinley is serious, and unlike
           changing the name of the Gulf of Mexico, changing the name is fully within the power of the
           U.S. government. Obama changed the name from Mount McKinley to Denali, its earlier name,
           in 2015.


           Democrats have oered a mixed response to the agenda. Colorado Gov. Jared Polis said
           Tuesday on X that he “would welcome” Greenland as the 53rd state “right after we admit
           Puerto Rico and Washington DC.” And Senate Majority Leader Chuck Schumer, D-N.Y., said
           Wednesday that he would “agree to working with Donald Trump on renaming the Gulf of
           Mexico, only if he rst agrees to work with us on an actual plan to lower costs for Americans.”


           But with Democrats struggling to nd their footing in the second Trump administration, a
           Pennsylvania Democrat expressed worry that Trump’s eort, if it succeeds, could be
           detrimental to the party’s chances at the ballot box.


           “Let’s say somehow Donald Trump buys Greenland and renames [the Gulf of Mexico] the Gulf
           of America,” this person said. “There are millions and millions of voters who will go: ‘Well, he
           did that. I don’t even know what Democrats do.’”


           “That’s a scary moment for the party right now, where it’s, like, we’re going to say, ‘Hey guys,
           we reformed pharmacy benet manager regulation,’” this person continued. “Trump’s going
           to say, ‘Yeah, well I renamed it the Gulf of America. So pick me or pick that nerd.’ And it’s like,


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